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     February 7, 2018, Plaintiffs moved for class certification. Dkt. 72. On
     March 14, 2018, the Honorable John F. Walter granted 7-Eleven’s
     motion for judgment on the pleadings with prejudice, finding that 7-
     Eleven is not Plaintiffs’ employer. Dkt. 132. Judge Walter then denied
     the motion for class certification as moot. Id. at 10-11. Plaintiffs
     appealed. Dkt. 138. The named plaintiffs in Haitayan I also filed a
     new lawsuit (later amended to seek relief on behalf of a putative class)
     seeking declaratory and injunctive relief. Haitayan v. 7-Eleven, Inc.,
     No. 2:18-cv-05465-DSF (ASx) (Haitayan II), dkts. 1, 48. On October 10,
     2018, this Court denied Plaintiffs’ motion for a preliminary injunction
     and corrective notice. Haitayan II, dkt. 55. Plaintiffs again appealed.
     Haitayan II, dkt. 56.

            While the appeals were pending, the California Supreme Court
     decided Dynamex Operations West, Inc. v. Superior Court, 4 Cal. 5th
     903 (2018), which adopted a new test for distinguishing employees from
     independent contractors. The Ninth Circuit vacated and remanded
     both the judgment on the pleadings in Haitayan I and the order
     denying a preliminary injunction and corrective notice in Haitayan II.
     Haitayan v. 7-Eleven, Inc., 762 F. App’x 393 (9th Cir. 2019). The
     circuit court “le[ft] it to the district court in the first instance to address
     the extent to which Dynamex applies to the plaintiffs’ claims, including
     the parties’ contentions regarding retroactive application of Dynamex”
     and noted it was “currently considering the application of Dynamex to
     franchisees in Vazquez v. Jan-Pro Franchising Int’l Inc., No. 17-16096.”
     Id. at 395. The Ninth Circuit suggested this Court stay the proceedings
     pending the decision in Vazquez. Id.

            On March 1, 2019, Haitayan I was transferred to this Court.
     Dkt. 180. On April 29, 2019, the Court stayed both cases “until the
     Ninth Circuit renders its decision in Vazquez.” Dkt. 204 at 16. The
     Ninth Circuit subsequently issued the Vazquez decision, holding that
     (1) “the franchise context does not alter the Dynamex analysis” and (2)
     Dynamex applies retroactively. Vazquez v. Jan-Pro Franchising Int’l,
     Inc., 923 F.3d 575, 586, 595 (9th Cir. 2019). However, on July 22, 2019,
     the Ninth Circuit withdrew its Vazquez decision and indicated that it
     would issue an order certifying to the California Supreme Court the


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     question of whether Dynamex applies retroactively. Vazquez v. Jan-
     Pro Franchising Int’l, Inc., 930 F.3d 1107 (9th Cir. 2019). The Ninth
     Circuit issued its certification order to the California Supreme Court on
     September 24, 2019. Vazquez v. Jan-Pro Franchising Int’l, Inc., 939
     F.3d 1045 (9th Cir. 2019). On the same day, the Ninth Circuit issued
     an order “re-establish[ing] the remaining holdings” from its withdrawn
     opinion. Vazquez v. Jan-Pro Franchising Int’l, Inc., 939 F.3d 1050,
     1051 (9th Cir. 2019). The California Supreme Court took up the issue
     and decided Dynamex applies retroactively. Vazquez v. Jan-Pro
     Franchising Int’l, Inc., No. S258191, 2021 WL 127201 (Cal. 2021).

     B.    7-Eleven Franchising

           7-Eleven is the world’s largest franchisor of retail convenience
     stores, with more than 7,800 stores operating in the United States.
     Dkt. 216-1 ¶ 1. Plaintiffs each own at least one 7-Eleven franchise. Id.
     ¶¶ 2-5. Plaintiffs entered into an agreement (Franchise Agreement)
     with 7-Eleven that governs the franchise relationship. Dkts. 217-3,
     217-4. Under the Franchise Agreement, 7-Eleven leases property and
     equipment to the franchisee and grants a license to use 7-Eleven’s
     trademarks and operating system. Dkt. 216-1 ¶ 19. In return,
     Plaintiffs must pay 7-Eleven a franchise fee and other fees, along with
     the “7-Eleven Charge,” which is typically 50% of the gross profits of the
     store. Id. ¶ 20; dkt. 217-1 ¶¶ 8, 23. Franchisees retain all remaining
     gross profits from their store after paying the “7-Eleven Charge,” fees,
     and store expenses. Dkt. 216-1 ¶ 21. Plaintiffs and 7-Eleven intended
     to establish an independent contractor relationship, id. ¶ 62, and
     franchisees agree “to hold [themselves] out to the public as . . .
     independent contractor[s],” dkt. 217-1 ¶ 1.

           Plaintiffs must also abide by numerous requirements established
     by 7-Eleven. Before opening a franchise, Plaintiffs must complete
     mandatory training sessions. Dkts. 243 (Elkins Decl.) ¶; 7 246 (Dhillon
     Decl.) ¶ 7. Employees are also retrained annually through 7-Eleven’s
     ongoing training program. Dkt. 244 (Haitayan Decl.) ¶ 9. Franchises
     must generally be open 24 hours a day or they will face a financial
     penalty. Elkins Decl. ¶ 5. They must use 7-Eleven’s ISP system for


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     bookkeeping, placing orders, and handling the store’s day-to-day
     activities. Id. ¶ 9; Dhillon Decl. ¶ 9. 7-Eleven also controls stores’
     bookkeeping. Dhillon Decl. ¶ 10. Franchisees provide daily financial
     data to 7-Eleven, which it uses to do calculations and compile a
     monthly financial report it gives back to the franchisee. Elkins Decl.
     ¶ 10; Dhillon Decl. ¶ 10.

           Additionally, 7-Eleven controls access to stores’ bank accounts,
     selects and negotiates contracts with armored car services to deliver
     deposits to the bank, solicits and negotiates the price of maintenance
     and cleaning with third-party providers the franchisee then pays,
     negotiates all of the contracts for the vendors, controls sales promotions
     and inventory, maintains a camera system to monitor all transactions
     within stores, requires franchisees to use standard advertising and
     promotions, controls when 7-Eleven equipment in stores is replaced or
     upgraded, monitors each transaction in a store, contracts with a third-
     party as the payroll processor, controls the temperature of the store,
     controls what time deliveries to stores are made at, and requires
     franchisees to comply with its food-safety standards and procedures.
     Elkins Decl. ¶¶ 10-21; Dhillon Decl. ¶¶ 11-22; dkt. 245 (Lobana Decl.)
     ¶¶ 10-19; Haitayan Decl. ¶¶ 10, 13-22.

            In June 2018, 7-Eleven began distributing its 2019 franchise
     agreement to all California franchisees, regardless of whether they had
     agreements that expired in 2019. Elkins Decl. ¶ 23. The 2019
     franchise agreements offered a more favorable profit split to
     franchisees who signed it. Id. Additionally, 7-Eleven sent mass emails
     offering incentives such as a $1,000 cash payment to sign the 2019
     agreement. Id. ¶ 25. Within the 2019 agreement was a release of
     claims against 7-Eleven, including claims in Haitayan I. Id. ¶ 24.

                            II. LEGAL STANDARD

          Before certifying a class, district courts must perform a “rigorous
     analysis” to determine whether the requirements of Rule 23 of the
     Federal Rules of Civil Procedure are met. Wal-Mart Stores, Inc. v.
     Dukes, 564 U.S. 338, 351 (2011). The party seeking class certification



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     bears the burden of establishing that these requirements are met.
     Rodriguez v. Hayes, 591 F.3d 1105, 1122 (9th Cir. 2010). Courts can
     look behind the pleadings to issues overlapping with the merits of the
     underlying claims. Dukes, 564 U.S. at 350-51.

     A.    Rule 23(a)

            To certify a class under Rule 23, the party seeking class
     certification must first satisfy the four prerequisites of Rule 23(a) –
     numerosity, commonality, typicality, and adequacy of representation.
     Rodriguez, 591 F.3d at 1122.

           1.    Numerosity

           The class must be “so numerous that joinder of all members is
     impracticable.” Fed. R. Civ. P. 23(a)(1). “The numerosity requirement
     requires examination of the specific facts of each case and imposes no
     absolute limitations.” Gen. Tel. Co. of the Nw., Inc v. EEOC, 446 U.S.
     318, 330 (1980). “But a conclusory allegation that a class is so
     numerous that joinder is impracticable is not sufficient to meet the
     requirements of Rule 23(a)(1).” Valentino v. Howlett, 528 F.2d 975, 978
     (7th Cir. 1976).

           2.    Commonality

            Rule 23(a)(2) requires that there be “questions of law or fact
     common to the class.” “The commonality requirement serves chiefly
     two purposes: (1) ensuring that absentee members are fairly and
     adequately represented; and (2) ensuring practical and efficient case
     management.” Rodriguez, 591 F.3d at 1122 (internal quotation marks
     omitted). Courts look for “shared legal issues or a common core of
     facts.” Id. It is unnecessary for both to be present. Id. Where
     diverging facts underlie the individual claims of class members, courts
     consider whether the issues “at the heart” of those claims are common
     such that the class vehicle would “facilitate development of a uniform
     framework for analyzing” each class member’s situation. Id. at 1123.




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           3.    Typicality

           The representative parties’ claims or defenses must be “typical of
     the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3).
     “[R]epresentative claims are ‘typical’ if they are reasonably co-extensive
     with those of other class members; they need not be substantially
     identical.” Hanlon v. Chrysler Corp., 150 F.3d 1020, 1019 (9th Cir.
     1998), overruled on other grounds by Dukes, 564 U.S. 338. “Typicality
     refers to the nature of the claim or defense of the class representative,
     and not to the specific facts from which it arose or the relief sought.”
     Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992)
     (internal quotation marks omitted).

           The inquiry is “whether other members have the same or similar
     injury, whether the action is based on conduct which is not unique to
     the named plaintiffs, and whether other class members have been
     injured by the same course of conduct.” Id. (internal quotation marks
     omitted). Where the claims of a representative are subject to unique
     defenses, they may fail the typicality requirement. Id. However, such
     defenses should defeat typicality “only where they ‘threaten to become
     the focus of the litigation.’” Rodriguez, 591 F.3d at 1124 (quoting
     Hanon, 976 F.2d at 508). In practice, “[t]he commonality and typicality
     requirements of Rule 23(a) tend to merge,” and both serve to determine
     whether certifying the class would be “economical” and whether absent
     class members’ interests would be protected. Gen. Tel. Co. of Sw. v.
     Falcon, 457 U.S. 147, 157 n.13 (1982).

           4.    Adequate Representation

            Rule 23(a)(4) requires a showing that “the representative parties
     will fairly and adequately protect the interests of the class.” In
     evaluating the adequacy of representation, courts must resolve two
     questions: “(1) do the named plaintiffs and their counsel have any
     conflicts of interest with other class members and (2) will the named
     plaintiffs and their counsel prosecute the action vigorously on behalf of
     the class?” Hanlon, 150 F.3d at 1020. In practice, this factor tends to




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     merge with the commonality and typicality requirements. Falcon, 457
     U.S. at 157 n.13.

     B.    Rule 23(b)(3)

            In addition to the requirements of Rule 23(a), the class must
     satisfy one of the three provisions of Rule 23(b). Valentino v. Carter-
     Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996). Rule 23(b)(3)
     certification is “[f]ramed for situations in which ‘class-action treatment
     is not as clearly called for’” as under Rule 23(b)(1) and (b)(2), but
     “where class suit may nevertheless be convenient and desirable.”
     Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 615 (1997) (internal
     quotation marks omitted). Two requirements must be met: (1) common
     questions of law or fact must “predominate over any questions affecting
     only individual members,” and (2) a class action must be the “superior”
     vehicle for litigating the controversy. Fed. R. Civ. P. 23(b)(3). The
     predominance requirement is “far more demanding” than the
     commonality requirement of Rule 23(a)(2), Amchem, 521 U.S. at 624,
     and judicial economy is a “central concern.” Vinole v. Countrywide
     Home Loans, Inc., 571 F.3d 935, 944 (9th Cir. 2009).

                                III. DISCUSSION

     A.    Timeliness of Motion

            7-Eleven argues this motion is untimely because it will interfere
     with the March 23, 2021 trial date set by the Court. Rule 23(c)(1)(A)
     requires the class certification decision be made “[a]t an early
     practicable time.” Local Rule 23-3 further requires that a plaintiff
     move for class certification “[a]t the earliest possible time . . . but no
     later than any deadline set by the assigned judge.” Because the Court
     denies the motion, it need not rule on timeliness.

     B.    Rule 23 Requirements

           1.    California Employment Tests

           The parties first dispute which employment test governs this
     case. Whether certain laws and regulations in the California Labor



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     Code apply to Plaintiffs depends on their status as independent
     contractors. For nearly three decades, California courts have used a
     test based on the decision in S. G. Borello & Sons, Inc. v. Department of
     Industry Relations, 48 Cal. 3d 341 (1989) (in bank) to determine
     whether workers are correctly classified as employees or independent
     contractors. The Borello test considers the “right to control work,” as
     well as many other factors, including (a) whether the worker is engaged
     in a distinct occupation or business, (b) the amount of supervision
     required, (c) the skill required, (d) whether the worker supplies the
     tools required, (e) the length of time for which services are to be
     performed, (f) the method of payment, (g) whether the work is part of
     the regular business of the principal, and (h) whether the parties
     believe they are creating an employer-employee relationship. Id. at
     355-58.

           In April 2018, the California Supreme Court replaced the Borello
     test with the “ABC test” for the purpose of determining employment
     under California wage orders. Dynamex Operations W. v. Superior
     Court, 4 Cal. 5th 903 (2018). The court held that under the “suffer or
     permit to work” language used in all California wage orders, any
     worker who performs work for a business is presumed to be an
     employee who falls within the protections afforded by a wage order. Id.
     at 916. However, such a worker can properly be found to be an
     independent contractor – to whom the wage order would not apply – if
     the hiring entity establishes:

           (A) that the worker is free from the control and direction of
           the hirer in connection with the performance of the work,
           both under the contract for the performance of such work
           and in fact; (B) that the worker performs work that is
           outside the usual course of the hiring entity’s business; and
           (C) that the worker is customarily engaged in an
           independently established trade, occupation, or business of
           the same nature as the work performed for the hiring
           entity.




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     Id. at 916-17 (emphasis added). If the putative employer fails to
     establish any one of the three prongs with regard to a worker, the
     worker is properly classified as an employee. California’s Assembly Bill
     5 (AB 5) codified Dynamex’s holding and adopted the ABC test for all
     provisions of the California Labor Code, the Unemployment Insurance
     Code, and IWC wage orders, with numerous exemptions. See A.B. 5,
     Ch. 296, 2019-2020 Reg. Sess. (Cal 2019); Cal. Lab. Code §§ 2750.3 et
     seq.3 AB-5 applies only to work performed after January 1, 2020.

           Plaintiffs have two surviving claims – a section 2802 claim and a
     claim for unpaid expense reimbursements under Wage Order 7.4 See
     dkt. 222. The parties dispute which of the two tests – the ABC or
     Borello test – should apply to these claims. See Opp’n at 12-13. The
     California Supreme Court recently held the ABC test adopted in
     Dynamex applies retroactively. Vazquez, 2021 WL 127201, at *1. In
     doing so, the court also emphasized that Dynamex applies only to wage
     orders. Id. (relying on the fact that Dynamex applied only to wage
     orders to illustrate that it did not change a settled rule and the decision
     should therefore apply retroactively). Consequently, Dynamex applies,
     but only to Plaintiffs’ Wage Order 7 claim.5


     3 On September 4, 2020, the California legislature passed and the Governor
     signed Assembly Bill 2257, which repealed and replaced the statutory
     changes enacted by AB 5. Stats. 2020, ch. 38 § 2. AB 2257 revised certain
     exemptions to the ABC test and created additional exemptions, none of which
     is relevant here. Id.
     4The Court recently granted summary judgment to 7-Eleven as to Plaintiffs’
     retaliation claim in Haitayan II.
     5 In ruling directly on this issue, a number of other courts have come to the
     same conclusion. See, e.g., Henry v. Central Freight Lines, Inc., No. 2:16-cv-
     00280-JAM-EFB, 2019 WL 2465330, at *7-8 (E.D. Cal. June 13, 2019)
     (holding the Borello standard rather than the ABC test applied to plaintiff’s
     statutory claims); see also Cal. Trucking Ass’n v. Su, 903 F.3d 953, 959 n.4
     (“Dynamex did not purport to replace the Borello standard in every instance
     where a worker must be classified as either an independent contractor or an
     employee for purposes of enforcing California’s labor protections.”).



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             AB 5 is not retroactive and, therefore, applies only to work
      performed after January 1, 2020, when the statute went into effect.
      Under Evangelatos v. Superior Court, “in the absence of an express
      retroactivity provision, a statute will not be applied retroactively unless
      it is very clear from extrinsic sources that the Legislature or the voters
      must have intended a retroactive application.” 44 Cal. 3d 1188, 1209
      (1988). There is no such clarity here. See also Olson v. California, No.
      CV 19-10956-DMG (RAOx), 2020 WL 905572, at *12 (C.D. Cal. Feb. 10,
      2020) (“AB 5 does not apply retroactively . . . . Instead, AB 5 applies to
      work performed after January 1, 2020.”). Plaintiffs do not argue that
      AB 5 should apply to their claim if it is not retroactive.

           Because Dynamex applies retroactively, but only to wage orders,
      and AB 5 is not retroactive, the ABC test applies to Plaintiffs’ Wage
      Order claim and the Borello test applies to Plaintiffs’ Labor Code claim.

            2.    Plaintiffs’ Labor Code Claim

            Plaintiffs’ motion focuses almost entirely on the ABC test. Their
      only argument under the Borello test is the following sentence in a
      footnote: “Moreover, even if the Court were to determine that some
      aspect of the case is covered by Borello, the case is certifiable under
      that standard as well.” Mot. at 3 n.3. “[A] party seeking to maintain a
      class action ‘must affirmatively demonstrate his compliance’ with Rule
      23.” Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013) (quoting Wal-
      Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011)).

            The Rule does not set forth a mere pleading standard.
            Rather, a party must not only be prepared to prove that
            there are in fact sufficiently numerous parties, common
            questions of law or fact, typicality of claims or defenses,
            and adequacy of representation, as required by Rule 23(a).
            The party must also satisfy through evidentiary proof at
            least one of the provisions of Rule 23(b).

      Id. (citations and internal quotation marks omitted). District courts
      have repeatedly held that vague and conclusory arguments are
      insufficient to satisfy a plaintiff’s burden. See, e.g., Moore v. Coty Inc.,


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      No. EDCV 14-2427-VAP (DTBx), 2016 WL 6023820, at *2 n.4 (C.D. Cal.
      Mar. 3, 2016) (plaintiff failed to sustain burden of showing compliance
      with certain Rule 23 requirements with two short footnotes that were
      “vague and conclusory”); Abbit v. ING USA Annuity, No. 13cv2310-
      GPC-WVG, 2015 WL 7272220, at *13 (S.D. Cal. Nov. 16, 2015)
      (plaintiff failed to meet burden where he “summarily addresse[d] the
      merits of class certification as to [] three causes of action in less than
      one page of briefing”).

            Plaintiffs’ ability to meet the commonality and predominance
      requirements of Rule 23 hinges on which legal test – either the ABC or
      Borello test depending on the claim – applies. Plaintiffs dedicate the
      substantial majority of their briefing to arguing why class certification
      is proper under the ABC test. However, the Court finds Dynamex
      applies only to their wage order claim. Plaintiffs cannot meet their
      burden on these two factors as to their Labor Code claim without
      adequately explaining why common questions predominate under the
      Borello test.6

            Because Plaintiffs have failed to carry their burden of
      demonstrating class certification is proper as to their Labor Code claim,
      the Court DENIES the motion for class certification on Plaintiffs’
      Section 2802 claim for expense reimbursement.




      6 Plaintiffs’ failure to address the Borello test is rather baffling. Plaintiffs’
      Motion was less than 20 pages – significantly under the 25-page limit. See
      Standing Order ¶ 4(c). Additionally, 7-Eleven raised this insufficiency
      argument in its Opposition, and Plaintiffs’ only response in their Reply was:
      “And even if the Court determines that the ABC test does not apply to these
      claims, California courts have routinely certified § 2802 claims in
      independent contractor misclassification cases under the prior Borello
      standard. See cases cited in Dkt. 241, p.3, n.4. Class certification is
      warranted even if the Court finds that Borello applies to Plaintiffs’ claims
      under § 2802 and for retaliation.” Dkt. 253 (Reply) at 3.



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            3.    Plaintiffs’ Wage Order Claim

            Dynamex, and therefore the ABC test, governs Plaintiffs’
      remaining claim – a wage order claim. 7-Eleven argues that even
      applying the ABC test, class certification is inappropriate because
      common questions do not predominate and Plaintiffs failed to satisfy
      the adequacy of representation requirement. Opp’n at 13-25. 7-Eleven
      does not contest the remaining Rule 23 requirements, so the Court
      begins its analysis with the two disputed factors.

                  a.    Predominance

             Predominance under Rule 23(b)(3) asks whether a putative class
      is “sufficiently cohesive to warrant adjudication by representation.”
      Vinole, 571 F.3d at 944. Courts must consider “whether the common,
      aggregation-enabling, issues in the case are more prevalent or
      important than the non-common, aggregation-defeating, individual
      issues.” Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045 (2016).
      Further, in order to satisfy Rule 23’s predominance requirement,
      “plaintiffs must show that ‘damages are capable of measurement on a
      classwide basis,’ in the sense that the whole class suffered damages
      traceable to the same injurious course of conduct underlying the
      plaintiffs’ legal theory.” Just Film, Inc. v. Buono, 847 F.3d 1108, 1120
      (9th Cir. 2017) (quoting Behrend, 569 U.S. at 34-38).

            Plaintiffs argue common issues predominate as to the underlying
      misclassification issue and the wage order claim. 7-Eleven argues
      individualized issues dominate the misclassification inquiry because (1)
      each of the three ABC test prongs requires individualized inquiries; (2)
      there are individualized questions regarding which franchisees are
      considered members of the putative class; (3) the wage order
      exemptions are not subject to common proof; and (4) 7-Eleven’s
      affirmative defense involving franchisees’ releases rests on
      individualized proof. Opp’n at 14-24.




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      Wage Order Claim’s Individualized Issues

             7-Eleven argues Plaintiffs’ Wage Order 7 claim for money spent
      buying and maintaining uniforms and store equipment is not amenable
      to class treatment because whether Plaintiffs are exempt from the
      provisions of the Wage Order requires individual proof. Opp’n at 21-22.
      Labor Code and Wage Order exemptions often “militate against
      certification” because they typically require an individualized, fact-
      intensive inquiry. In re Wells Fargo Home Mortg. Overtime Pay Litig.,
      571 F.3d 953, 959 (9th Cir. 2009). The executive exemption does not
      foreclose the possibility of certification, but before certification, courts
      must investigate whether there are “centralized rules . . . suggest[ing] a
      uniformity among employees that is susceptible to common proof.” Id.
      at 958-59. “[U]niform corporate policies will often bear heavily on [the]
      question[] of predominance” because, to the extent they reflect the
      realities of the workplace, they facilitate common proof of otherwise
      individualized issues. Id. at 958.

            Whether the Wage Order claim is subject to common proof
      therefore turns on whether proof of the exemption will rely primarily
      on corporate policies and procedures or on individual franchisees’
      actions. See also Vinole, 571 F.3d at 946 (in evaluating exemptions,
      courts should examine “whether the employer exercised some level of
      centralized control in the form of standardized hierarchy, standardized
      corporate policies and procedures governing employees, uniform
      training programs, and other factors susceptible to common proof”).

              Wage Order 7 provides it “shall not apply to persons employed in
      administrative, executive, or professional capacities.” Cal. Code Regs.
      tit. 8, § 11070(1)(A). To qualify for the “executive” exemption – which
      7-Eleven argues applies here – an employee must: (1) manage the
      enterprise, a customarily recognized department, or subdivision
      thereof; (2) direct the work of two or more other employees; (3) have the
      authority to hire or fire, or have their recommendations to hire, fire, or
      promote given weight; (4) exercise discretion and independent
      judgment; (5) be primarily engaged in exempt activity more than fifty




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      percent of the time; and (6) earn a monthly salary equal to twice the
      state minimum wage for full-time employment. Id.

            The exemption analysis here will involve both common and
      individualized questions. Whether franchisees manage an enterprise
      and have the authority to hire and fire are subject to common proof
      based on the franchise agreement. The same is true of whether
      franchisees exercise discretion and independent judgment. However,
      how many employees franchisees direct and whether franchisees are
      primarily engaged in an exempt activity more than fifty percent of the
      time are individualized inquiries. The final factor, a monthly salary,
      involves both individual and common questions. How much money
      each franchisee earns is an individualized inquiry, but whether the
      “draws” franchisees earn count as salaries is subject to common proof.
      See dkt. 222 at 11-12 (denying summary judgment for 7-Eleven on the
      exemption issue because it was unclear if “draws” were a monthly
      salary).

            The Court focuses here on the fifth factor – if franchisees are
      primarily engaged in an exempt activity. “Exempt” management work
      includes, but is not limited to, activities like (1) the “interviewing,
      selecting, and training of employees,” (2) “setting and adjusting their
      rates of pay and hours of work,” (3) “directing the work of employees,”
      and (4) “appraising employees’ productivity and efficiency for the
      purpose of recommending promotions.” 29 C.F.R. § 541.102; Cal. Code
      Regs. tit. 8, § 11070(1)(A)(1)(e). The regulations stress “[t]he work
      actually performed by the employee during the course of the workweek
      must, first and foremost, be examined[,] and the amount of time the
      employee spends on such work.” Cal. Code Regs. tit. 8, §
      11070(1)(A)(1)(e). “[A]ll work that is directly and closely related to
      exempt work and work which is properly viewed as a means for
      carrying out exempt functions” is also classified as exempt work. Id.

            Franchisees’ salaries and employees are straightforward factual
      questions, but primary engagement is more complex and fact intensive.
      In Marlo v. United Parcel Service, Inc., 639 F.3d 942, 948 (9th Cir.
      2011), for example, the Ninth Circuit affirmed the district court’s


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      decertification of a class on predominance grounds because of the
      individualized inquiries the court would have to make to resolve the
      question of exemptions. The circuit noted, “the fact that UPS expects
      FTS to follow certain procedures or perform certain tasks does not
      establish whether they actually are primarily engaged in exempt
      activities.” Id. (internal quotation marks omitted). The circuit also
      found the district court did not err in requiring week-by-week
      determination of exempt status. Id.7

             Complicating matters further, courts are expected to analyze an
      individual’s purpose in performing work. This is because, under
      California law, “[a] task performed because it is helpful in supervising
      the employees or contributes to the smooth functioning of the
      department is exempt, even though the identical task performed for a
      different, nonmanagerial reason would be nonexempt.” Heyen v.
      Safeway Inc., 216 Cal. App. 4th 795, 822 (2013) (punctuation omitted).

            That determination cannot be made on a class-wide basis as each
      franchisee spends unique amounts of time completing different tasks.
      For instance, Elkins described a typical Monday as follows:

            I will start the day out at one store. I will do some tobacco
            ordering, and I will do other ordering that the BT system
            directs me to order that has to be ordered only on that day.
            I will relieve the clerks from register duty while they go
            take their lunch breaks. I will talk with vendors if they
            happen to come in. I will assist with making hot foods. I
            will sweep the floor, mop the floor. I will pick up trash
            outside, and I wear multiple hats, and there is not anything
            around the store that I don’t do.

      Dkt. 251-7 at 12. On Tuesdays, Elkins said his duties differed,
      consisting of more ordering and stocking new merchandise. Id. at 14-

      7The same would likely be true for considering whether the person directed
      the work of two or more other employees.




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